 

 

Case: 1:15-cv Vicki Stat, D Sa t#.1-2 Biled, 03/30/15 Page 1 of 37 PagelD #:23
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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 9 of 37 PagelD #:31

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a case: 5- Any 2855 Document #: 1-1 Filed: 03/30/15 PagggLO of 37 oN 2
woe eb. LTE OF WLINOIS — DEPARTMENT OF CORRECTIONS

ADULT AND JUVENILE DIVISIONS

 

 

 

 

 

INCIDENT REPORT
~ L. La
Institution’ Program: LTAIAD Ww LOL (Gr FE Coote ond Time of incident: 1c “ a ! Apx , ; Ah .
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A the answer is yes to any of the following questions, explain in narrative below:

A Was a Weapon Involved: YES O NO B. Were Restraints/Force Used: ves] no C. Was Property Damaged: vesU] noe
D. Have Apprehension Unit and/or Law Enforcement Agencies Been Notified: ves CL] No kt E. Were Arrests Made: YES O nox

F. Any Injuries/Hospitalizations: YES O “oi c

G. Were there Media Inquiries: YES O NO Bs

 

Inmates/ Staff Involved: Commitment Witnesses to incident:
Name . 1.0.8 Offense , Dote Nome 1.0.8

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Reporting Employee Dote/Time | Person Calling in Report

 

 

Administrative Assessment:

 

 

r :
' Chiet Administrative Officer Date/Time

 

Distribution: Director
Deputy Director of Appropriate Division. Legal Services (only if restraints/force used)
Deputy Director of Bureau of Inspections ond Audits File

OC 434 (4/83)
ik 426.0410

 
 

 

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Witness(es): NL ON cE

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to describe additional facts, observations or witnesses.

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Reviewing Officer’s Decision: PG Confinement reviewed by Reviewing Officer Comment: : Za Mt CMe

major Infraction, submitted for Hearing Investigator, if necessary and to Adjustment 26mmittee
C) Minor Infraction, submitted to Prog nit Je WY

Lope ZOU ee LT po LELL)
Print Reviéwing Officer's Name and Badge # Reviewing 's Signature Date

 

  

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W Required (Adult Correctional Major Reports Only):
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att Date

Heoriniy investigator's Signature . te
Procedures Applicable to all Hearings on Investigative and Disciplinary Reports

You have the right to appear and present a written or oral statement or explanation conceming the charges. You may present relevant physical material such
as records or documents.

Procedures Applicable to Hearings Conducted by the Adjustment Committee on Disciplinary Reports

You may ask that witnesses be interviewed and, if necessary and relevant, they may be cafied to testify during your hearing. You may ask that witnesses be
questioned along lines you suggest. You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
testify to by filling out the appropriate space on this form, tearing It off, and retuming it to the Adjustment Committee. You may have staff assistance if you are
unable to prepare a defense. You may request a reasonable extension of time to prepare for your hearing. ‘

 

 

 

 

 

 

 

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Serving Employee (Print Name) Badge

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Date Served Time Served *
(1) { hereby agree to waive 24-hour notice of charges prior to the disciplinary hearing.

 

 

Offender's Signature {O#
 

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; ’ ~ Case: ‘STATE OF QRINGIS = bePART MEN? OF CORGBCTIONS?” #34

ADJUSTMENT COMMITTEE
Xb f- A - " - 9*2 FINAL SUMMARY REPORT

 

 

 

 

 

 

 

cc out Ni ed )
: MYLES, EDDIE IDOC Number: A71068 Race: BLK
Hearing Date/Time: 1/6/2012 10:07 AM Living Unit: DIX-MS-MS-22 Orientation Status: N/A
Incident Number: 201200105/1 - DIX Status: Final
Date Ticket # Incident Officer Location Time
1/4/2012 201200105/1-DIX MORITZ, ; | BUILDING 118 08:30 AM
Offense Violation Final Result
206 Intimidation Or Threats Guilty
Comments: threatened to kill cellmate
Witness Type Witness ID Witness Name Witness Status
No Witness Requested
RECORD OF PROCEEDINGS

Ticket read. Inmate states he and his cellmate were having problems. States he told the officer that if his cellmate put his
hands on him, he was going to “do what he had to do." States he did not threaten to kill his celimate.

BASIS FOR DECISION

Based on evidence in the ticket that the inmate told staff, “things are going from bad to worse, | swear to God as my
witness, if he puts his hands on me | will kill him” when asked about his cellmate; the inmate's partial admission of guilt;
and reporting staff's positive identification of the inmate, the committee finds the inmate guilty.

DISCIPLINARY ACTION (Consecutive to any priors)

RECOMMENDED FINAL
15 Days Segregation
Basis for Discipline:nature of offense

 

15 Days Segregation

 

 

 

Signatures

Hearing Committee vy

KEMMEREN, JOANNA M - Chair Person DA 01/06/12 WHI
atu . Race

GEERTS, MICHELLE K ( V ) TY 0 ortk ovosi2 MSP

 

Signature) Race
Recommended Action Approved

 

Final Comments: N/A

 

NEDRA R CHANDLER /NRC_ 1/9/2012 hel Ct) 01/09/12

Chief Administrative Officer Signature Date

 

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

AN wn (-\I\O Ae

Employee Serving Copy to Committed Person When Served -- Date and Time

 

Run Date: 1/10/2012 08:45:02 Page 1 of 1
CE Case: 1;15- “CV,N2855 Document #: 1-1 Filed: 03/30/15 Page 13 of 37 PagelD #:35

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illinois Depnent of Corrections Disciplinarf@Packing

 

Adjustment Committee Run Date: 01/05/2012
Working Summary
Name: MYLES,EDDIE IDOC # : A71068 Orientation Status: N/A

Hearing Date: MY Ve Living Unit: DIX/MS/MS/22
Hearing Time: \\SSt\ AR, PM Incident/Seq#/inst. 201200105/1-DIX

 

 

 

 

 

 

Date Ticket # incident Officer Location Time
1/4/2012 201200105/1-DIX MORITZ, WILLIAM E BUILDING 118 08:30 AM
Witnesses: Witness Type Witness ID Witness Name
Offense Violation (7 Recommended Action
206 Intimidation Or Threats uilty /} Not Guilty / Delete / Reduce To:
Comments:threatened to kill cellmate

 

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Basis For Decision:

 

 

 

 

Basis for Discipline:

 
   
    

Committee Members:

Committee Action:
Verbal Warning: Y N

 

 

Demotion To: Grade for. Segregation:
Assignment Change: Y N Housing Change: Y N Loss of GCC:
Restituion of $ to: Other:

 

 

Loss of Privilege(s):

 
 

 

 

Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 14 of 37 PagelD #:36

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AY i, 9: bt BL) no 1-1 Filed: 03/30/15 Page 15.0f 37 7 PagelD #:37

ILLINGIS DEPARTMENT OF CORRECTIONS i »
Offender Disciplinary Report i ‘

PUSHER > cone Date: l25 03

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Offender Name: _/P7KLEZS. . ID #: My 7) Db So

Observation Date: | ZY -13 Approximate Time: __ 32-5 omy toontion!” Hy) £0 S. Davee

Offense(s) OR 504/02: ASSMuLT , 20 I Tinudytthw) 22 THe keATS
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‘Nitness(es): eo A. DAnieLs 2752.

 

       

 

 

 

 

 

 

 

 

 

 

 

 

 

yr Continuation Page, DOC 9318 ts attached to describe additional facts Observations or witnesses.
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be Signature
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ae.) Cte 725 J Vee! ae _/ef-e

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i . (For ote rene ministrative Officer)
Reviewing QOfficer’s Decision: (] Confinement reviewed by Reviewing Officer Comment:

& ajor itreoyge submitted for Hearing Investigator, if necessary and to Adjustment Committee

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wy ED = Lb f>

Print neve cer’s Name and Badge # Reviewing Piticer’s Signature

Tr , (Adult Correctional Facllity Major Reports Only):
| Print Hearing investigator's Name and Badge # Hearing investigator's Si Date

 

Procedures Applicable to ali Hearings on Investigative and Disciplinary Reports

‘You have the right to appear and present a written or oral statement or explanation conceming the charges. You may present relevant physical materia! such
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ur.abie to prepare a defense. You may request a reasonable extension of time to prepare for your hearing.

 

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Serving 3 Employee (Print Name) Badge # -
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Date ed Time Served ,

Offender's Signature

 

 

 

 

 
 

 

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Observation Dato: I-ZY-i3 Approximate Time: __ 3 2S xe Location: HY bd S. DA vitacns

 

 

 

 

 

 

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(For Transtion Pate : :

| Aeyigwing Officer's Decision: C} Confinement reviewed by Reviewing
Infractign, submitted for Hearing Investigator, if ". an \djustment Committee

   

 

 

(Adult Core facility Major Reports Oniy):

 

 

Setot rs Name and # inv 's Si

: Procedures Applicable to ail Hearings on investigative and Disciplinary Reports
cu have the right to appear and present a written or oral staternent or explanation conceming the charges. You may present refevant physical materia! such (
Ag Fecorts ar documents.
Procedures Applicable to Hearings Conducted by the Adjustment Committee on Olsciplinary Reporte
"Lu oat ask that witnasses be interviewed and, # necessary and retevant, they may be cafled to testify during your hearing. You may ask that witnesses be
: ionad along lines you suggest. You mus! indicate in advance of the hearing the witnesses you wish fo have interviewed and speoity what they could
tsi dy to by filing out the appropriate space on this form, teacng it of, and retuming @ to the Adjustment Committee, You may have staif assistance if you are
‘cana to prepare a defense, You may request a reasonable axtension of time to prepare for your hearing.

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Offender's Signature Oe

 

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(Detach and Retum to the Adjustment Committse or Program Unit Prior to the Hearing)

 

Date of Olsciplinary Report Print offender's nama (On
1g requesting that the Adjustment Committee or Program Unit consider calling the following witnesses regarding the Disciplinary Report
432 above date: ,

 

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Page of ____.
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Offender .
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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 18 of 37 PagelD #:40

. ppt, STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS
Entibit 8:
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Cont; N Je d ADJUSTMENT COMMIFTEE
FINAL SUMMARY REPORT

Name: MYLES, EDDIE

 

 

 

 

 

 

IDOC Number: A71068 Race: BLK
Hearing Date/Time: 2/5/2013 09:23 AM Living Unit: DIX-MS-MS-06 Orientation Status: N/A
Incident Number: 201300770/1 - DIX Status: Final
Date Ticket # Incident Officer Location Time
1/28/2013 201300770/1-DIX CHRISTENSEN, rl SOUTHEAST HOUSING UNIT 60 03:25 PM
Offense Violation Final Result
102 Assaulting Any Person - Inmate Deleted
Reduced to : 301
Comments:Shepard K52138
206 Intimidation Or Threats Guilty
Witness Type Witness ID Witness Name Witness Status
“Inmate IDOC#: M08456 RHODES,GENO.t Witness Was Caled == =——=—SsRequeested By Inmate |

Requested By Inmate

Statement: Stated Shepard and Myles were arguing in the hallway and started fighting. Stated Myles was only defending himself.
Stated Shepard then ran to the dayroom.

 

I attest to the statements as being a correct reflection of the statements
________ Witness Interviewer Signature _________ Prowidedtome by witnesses, eee
Inmate IDOC#: NO1514 MOORE, CARLOS Witness Was Called

Requested By Inmate

Statement: Stated Myles and Shepard were arguing, and Shepard swung on Myles. Stated Myles turned around, and they
wrestled. Stated both inmates threw punches at each other, and then Shepard went to the dayroom.

md Wu

| attest to the statements as being a correct reflection of the statements
Witness Interviewer Signature provided to me by witnesses.

RECORD OF PROCEEDINGS

Ticket read. Inmate stated he and Shepard were arguing about his low bunk permit. Stated he had a low bunk permit, and
Shepard was mad because he wanted the low bunk. Stated Shepard told him, “I'm not going to let you play me.” Stated
Shepard hit him in the head, and he grabbed Shepard and they fought in the hallway. Stated when he started to get the

best of Shepard, Shepard ran to the dayroom. Stated the officer did see him swing on Shepard in the dayroom, but it was
a fight, not an assault. Stated he did threaten Shepard.

BASIS FOR DECISION
Based on evidence in the ticket that Inmate Myles A71068 was observed swinging a closed fist at Inmate Shepard K52138

in HU60 dayroom and then stated, “I'm going to kick your motherfucking ass" to Inmate Shepard; the inmate's admission
of guilt; and reporting staff's positive identification of Inmate Myles, the Committee finds Inmate Myles guilty of 310 and
206.

DISCIPLINARY ACTION (Consecutive to any priors)

 

 

RECOMMENDED FINAL
1 Months C Grade 1 Months C Grade
20 Days Segregation 20 Days Segregation
Basis for Discipline:nature of offense

Run Date: 2/7/2013 14:54:24 Page 1 of 2
 

      
  
  
    
 

 

\ 1 SOP cument #: 1-1 Filed: 03
(#e| STATE OF TLL /30/15 Page 19 of 37 PagelD #:41

EA bE Dadbined) Pia rem

 

Name: MYLES, EDDIE IDOC Number: A71068
Hearing Date/Time: 2/5/2013 09:23 AM Living Unit: DIX-MS-MS-06 Orientation el ie
Incident Number: 201300770/1 - DIX Status: Final .
Signatures

Hearing Committee

KEMMEREN, JOANNA M - Chair Person SI} 02/05/13. ~~ WHI

 

 

 

Signat Date Race
HERNANDEZ, JOSE A Ve 02/05/13 -HSP
s}gnature Date Race

Recommended Action Approved

 

Final Comments:
102 or the reduced charge of 301 is not substantiated as written

 

NEDRA R CHANDLER / NRC_2/7/2013 [ele ( 02/07/13

Chief Administrative Officer Signature Date

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

Se IMM A

Employee Serving Copy to Committed Person When Served - - Date and Time

Run Date: 2/7/2013 14:54:24 Page 2 of 2
 

 

 

 

- Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 20 of 37 PagelD #:42

 

 

 

 

 

 

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—_ der Disciplinary Report z /
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a Disciplinary  (] Investigative Facllity

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Offender Name: hs Ud. ZS ID #: Al 7) OG€ (M

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Observation Date: Sy ZS / / 73 Approximate Time: Ze Bem Location: O Kr 7A Ai»
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Observation: OTE: Each offense identified above must be substantiated.) ON FAE ABGVE D7 fh v Ss ALIEREX
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Witness(es):

   
 

Check if Offender Disciplinary Continuation P:

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Printed Name senel— Shift Superdisor's OA TAIT ONES) Date
(For Transition Centers, Chief Administ cer)

* : (1 Confinement reviewed by Reviewing Officer Gomment:

   

Major Infraction, sybmitted for Hearing Investigator, if necessary and fo Adj

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Reviewing Officer's Signature Date
CI Hearing investigator's Review Required (Adult Correctional Facility Major Reports Only):
{Print Hear investi r's Name and Badge # Hearing investi 3 Si Date

 

 

Procedures Applicable to ail Hearings on investigative and Disciplinary Reports
You have the right to appear and present a written or oral statement or explanation conceming the charges. You may present relevant physical material such
as records or documents.
Procedures Applicable to Hearings Conducted by the Adjustment Committee on Disciplinary Reports

You may ask that witnesses be interviewed and, if necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
questioned along lines you suggest. You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they coufd
testify to by filling out the appropriate space on this form, tearing it off, and retuming it to the Adjustment Committee. You may have staff assistance if you are
unable to prepare a defense. You may request a reasonable extension of time to prepare for your hearing.

 

 

 

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3-24-13 dg: pm
Date Served me Served .

oO | hereby agree to waive 24-hour notice of charges prior to the disciplinary hearing.

 

 

Oftender's Signature iD#
 

 

Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 22 of 37 PagelD #:44
STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS

| papal e ADJUSTMENT COMMITTEE
EXHibit C-Onttuies A FINAL SUMMARY REPORT

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Name: MYLES, EDDIE IDOC Number: A71068 Race: BLK
Hearing Date/Time: 4/2/2013 09:10 AM Living Unit: DIX-MS-MS-01 Orientation Status: N/A
Incident Number: 201302204/1 - DIX Status: Final
Date Ticket # Incident Officer Location Time
3/28/2013 201302204/1-DIX CRAFT, JOHN M GP YARD 02:00 PM
Offense Violation Final Result
301 Fighting - Guilty
Comments: Shepard K52138
Witness Type Witness ID Witness Name Witness Status
‘Inmate IDOC#: A641 WALKER, JERRELL Witness Was Called Requested By Inmate

Statement: Stated he saw Myles on the ground and saw Shepard punching Myles. Stated Myles didn't have a chance to hit back.

‘ uae
Le : | attest to the statements as being a correct reflection of the statements

Witness Interviewer Signature provided to me by witnesses. .

Inmate IDOC#: B54027 SCOTT, MICHAEL Witness Was Called Requested By Inmate

Statement: Stated he was on the yard, and Shepard was challenging Myles to fight. Stated Myles stood up and told Shepard to
walk away. Stated Shepard kept approaching Myles and then swung and hit Myles causing Myles to slip and fall to the
ground. Stated Shepard got on top of Myles and started punching Myles. Stated Shepard stopped, got up, and walked
away. Stated Myles didn't have a chance to fight back.

WA 1 attest to the statements as being a correct reflection of the statements

Witness InterviewerSignature provided to me by witnesses.

 

 

RECORD OF PROCEEDINGS

Ticket read by the Committee. Inmate stated he's not guilty. Stated he was assaulted. Stated he was sitting on a bench on
the yard, and Shepard approached him twice wanting him to meet him at the yard shack. Stated he ignored Shepard, but
the third time Shepard came by he told Shepard to leavehim alone. Stated Shepard took off his coat, so he stood up.
Stated Shepard walked up on him, and he slipped and fell. Stated Shepard got on top of him and hit him seven or eight
times and then ran away. Stated he didn't get a chance to fight back.

BASIS FOR DECISION

Based on Lt. Craft's ticket that Inmate Myles A71068 admitted to having a physical altercation with Inmate Shepard
K52138 on the GP Yard after he was observed with a swollen left eye, a bump on his forehead, and an abrasion to his
inner lip and that Inmate Shepard stated that both he and Inmate Myles were throwing punches at each other; the physical
evidence of the injuries to Inmate Myles which are injuries consistent with being in an altercation; the incident reports
written by Lt. Craft and Lt. Landwer verifying the occurrence of the incident; and Lt. Craft's positive identification of Inmate
Myles by photo ID, the Committee finds Inmate Myles guilty of 301. This is Inmate Myles’ 2nd ticket for being in an
altercation with Inmate Shepard in the past three months.

DISCIPLINARY ACTION (Consecutive to any priors)

 

 

RECOMMENDED FINAL
1 Months C Grade 1 Months C Grade
1 Months Segregation 1 Months Segregation
Revoke GCC or SGT 1 Months Revoke GCC or SGT 1 Months
Transfer (Disciplinary) Transfer (Disciplinary)

Basis for Discipline:Seriousness of Offense

Run Date: 4/5/2013 10:57:58 Page 1 of 2

 

 
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(# 3 ) ILLINOIS DEPARTMENT OF CORRECTIONS
Offender Outpatient Progress Notes

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Offender Information:

 

 

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Date/Time Sudjective, Objective, Assessment Plans —

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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 24 of 37 PagelD #:46

ILLINOIS DEPARTMENT OF CORRECTIONS

Offender Outpatient Progress Notes

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Offender Information:

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Distribution: Offenders Medical Record

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(#4 #4) STATE OF Pinar
Sk Ci ADJUSTME RNS oe
/ Cons in FINAL SUMMARY nies ig
Name: MYLES, EDDIE {DOC Number: A71068

 

Hearing Date/Time: 4/2/2013 09:10 AM Living Unit: DIX-MS-MS-01 Orientation Statue: Wa
Incident Number: 201302204/1 - DIX Status: Final
Signatures

Hearing Committee

f
KEMMEREN, JOANNA M - Chair Person Wa 04/02/13 WHI

Signatfre ,’ Date Race
HERNANDEZ, JOSE A ( 04/02/13 HSP

natyre Date Race
Recommended Action Approved

Final Comments: N/A

 

 

NEDRA A CHANDLER / NRC_4/5/2013 uly i!) 04/05/13

Chief Administrative Officer Signature Date

 

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

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Employee Serving Copy to Committed Person When Served - - Date and Time

 

Run Date: 4/5/2013 10:57:58 Page 2 of 2
 

Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 26 of 37 PagelD #:48

 

 

 

 

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OFFENDER'S GRIEVA

 

Knee LO Page 27 of 37 PagelD #:49

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Present Facility: -) j XO rN . C, (C ; Faclicy whore grievance Dp rm o N- es , C \

NATURE OF GRIEVANCE: . 15 2 Lf —
J . Personal Property [J Mail Handling (1 Restoration of Good Time [J ADA Tad Accommodation

W statt Conduct C1 Dietary 0 Medical Treatment (J HIPAA y
(0 Transfer Denial by Facility 1] Transfer Denial by Transfer Coordinator [] Other (specity): ,
(0 Disciplinary Report: J /A8 1 LO 13 Dx dal 0. C,

Date of Report

 

 

 

 

 

 

Facility where issued

Note: Protective Custody Denials may be grieved nmediately via the local administration on the protective somel status

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to: JUN 2 b 201 3
ard

Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review B
Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary

administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

Summary of Grievance (Provide information including a description of what happened, when and where it happened, and the name or identifying information

for each person involved): a A 7
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Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to self.

A-7/0 68 3130113

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(Continue on reverse side if necessary)

 

  

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Counselor’s Response (it applicable)

 

 

 

Date

Received: / [ CO Send directly to Grievance Officer [1 Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62794-9277

Response:

 

 

 

 

/ t

Counselor's Signature Date of Response

 

 

yy EMERGENCY REVIEW

 

 

 

tg this determined to be of an emergency nature? [[] Yes; expedite emergency grievance

vf (1 No; an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.

 

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Chief Administrative Officer's Signature Date

 

 

 

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Case: 1:15-cv-02855 oben psu comer 5 Page 28 of 37 PagelD #:50 i

NDER'S GRIEVANCE (Continued)

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Case: 1:15-cv-02855 gcument #: 1-1 Filed: 03/30/15 Page

    

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|EPARTMENT OF CORRECTIONS
RESPONSE TO OFFENDER'S GRIEVANCE
| Grievance Officer's Report |
Date Received: 4-11-13 Date of Review: 5-13-13 Grievance # (optional: 13-4-49
Offender: Myles (D#: A71068
Nature of Grievance: 301. FIGHTING

Fighting with another person in a manner that is not likely to cause serious bodily injury to one
or the other and that does not involve the use of a weapon.

Facts Reviewed: Based upon the Disciplinary Report dated 3-28-13 and the Adjustment Committee
Summary dated 4-2-13, this Grievance Officer is reasonably satisfied inmate committed the offense
of 301 fighting with Inmate Shepard K52138. Reports indicate Inmate Myles admitted to having a
physical altercation with Inmate Shepard. Inmate Myles indicates he only tried to protect himself.
Inmate Shepard admits to fighting and indicates both of them were throwing punches. This
Grievance Officer notes witness statements.

Inmate was provided with an Adjustment Committee Hearing and was subsequently found guilty of
the charge listed above. The discipline received is within the guidelines set forth in DR 504A-
Administration of Discipline.

Recommendation: Based upon a total review of all available information and a compliance check of
procedural due process safeguards in accordance with Department Rule 504, this Grievance Officer
recommends the grievance be denied.

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James Martens, CCl!

 

 

 

 

Print Grievance Officer's Name ) f Grievance Officer's Signature
(Attach a copy of Off ‘8 Gri , including hor's r ap it app
| Chief Administrative Officer's Response |
Date Received: 5, Li L 2 mt concur © |do not concur CJ] Remand

Comments:

 

VE Ly, _<C nl 5/9!

| Offender's Appeal To The Director |

 

| am appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach a complete copy of the
igi ic i 's resp , it licable, and any pertinent documents.)

 

 

 

Offender's Signature \De Date

 

Distribution Master File: Offender Page 1 DOC 0047 (Rev. 3/2005)

) of 37 PagelD #:51
 

 

« - Case: 1:15-cv-02:

CORRECTIONS

ment #: 1-1 Filed: 03/30/15 “ay of 37 PagelD #:52

 

 

 

 

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NATURE OF GRIEVANCE: Da lf me YF)
Personal Property (Mail Handling C) Restoration of Good Time [DD ADA Disz ah ity Accommodation
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(] Transfer Denial by Facility [] Transfer Denial by Transfer Coordinator CJ Other sms, AZ ‘¢ “Le ‘¢ Les }
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[1 Disciplinary Report: J QS 1 2013 L XON C. C. __
Date of Report Facility wher. 5: ed

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective Custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, uniess the issue isivolves discipline, 1s deemed an emergency or is subject to Girect review by the Administrative Review Board
Grievance Officer, only if the issue involves discipline at the present tacility or issue not resolved by Counseior

Chief Administrative Officer, only if EMERGENCY gnevance.

Administrative Review Board, niy if the issue involves transfer dental oy the Transfer Ccordinator. protective custcdy. involuntary
administration of psychotropic drugs, issues trom another facility except personal property issues, of issues not resvived by the Chet
Administrative Office:

Summary ot Grievance (Provide isfermeuan needing 8 description of what happened, when and where it happened. and the name or identifying information

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Check only if this is an EMERGENCY grievance due to a substantial risk of imminent perscnal injury or other serious ot in eparable harm to self

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ney 's Signature IOw "Date

 

 

     

 

(Continue on reverse side it necessary)

 

 

i Counselor’s Response (if applicable) |

 

 

 

 

 

 

 

 

 

 

Date
: Received: f / 0 Sena directly to Grievance Officer [Outside jurisdiction of this facility. Send to
| Administrative Review Board, P.O. Box 19277,

Springfield, 1. 62794-9277
Response:
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: Pnat Counselor's Name Counseilar's S.grature Date at Response
| __ EMERGENCY REVIEW
Date

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Case: 1:15-cv- 02855 Pocument #. 1-1 Rilednayeo/F5oMeQuyE 31 of 37 PagelD#53 -. ,
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ILLINOIS DEPARTMENT OF CORRECTIONS

 

Ae . Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 32 of 37 ’-‘rimat
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, RESPONSE TO OFFENDER'S GRIEVANCE
- Grievance Officer's Report 2 0 a 3
pir
Date Received: 4-11-13 Date of Review: 5-13-13 Grievance # (optional): 13-4-49
Offender: Myles ID#: 71068 w LV
Nature of Grievance: 301. FIGHTING HES

Fighting with another person in a manner that is not likely to cause serious bodily injury to one
or the other and that does not involve the use of a weapon.

Facts Reviewed: Based upon the Disciplinary Report dated 3-28-13 and the Adjustment Committee
Summary dated 4-2-13, this Grievance Officer is reasonably satisfied inmate committed the offense
of 301 fighting with Inmate Shepard K52138. Reports indicate Inmate Myles admitted to having a
physical altercation with Inmate Shepard. Inmate Myles indicates he only tried to protect himself.
Inmate Shepard admits to fighting and indicates both of them were throwing punches.| This
Grievance Officer notes witness statements.

Inmate was provided with an Adjustment Committee Hearing and was subsequently found guilty of
the charge listed above. The discipline received is within the guidelines set forth in DRR 504A-
Administration of Discipline.

|

Recommendation: Based upon a total review of all available information and a compliance check of
procedural due process safeguards in accordance with Department Rule 504, this Grievance Officer
recommends the grievance be denied.

James Martens, CCli Jp Whacbe

Print Grievance Officers Name Grievance Officer's Signature
(Attach a copy of Offender's Grievance, including counselor's r: nse if applicable)

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Chief Administrative Officer's Response

 

 

 

 

 

 

Date Received: 5/8 Hl 2 of t concur 1 | do not concur [J Remand

Comments:

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Offender's Appeal To The Director \

 

 

| am appealing the Chief Administrative Officer's decision to the Director. ! understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach a complete copy of the
original grievance, including the counselor’s response, if applicable, and any pertinent documents.)

 

 

 

Offender's Signature ID# Date

 

Distribution: Master File; Offender Page 1 DOC 0047 (Rev. 3/2005)

Printed on Recycled Paper

 
 
 

 

 

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OFFENDER'S GRIEVANCE

 

 

 

 

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NATURE OF GRIEVANCE:
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[] Transfer Denial by Facility [J] Transfer Denial by Transfer Coordinator (J Other (pecity) j 6S
Disciplinary Report: LAP L353. Dron Cree ‘ Ce, nNf2e. UN 2 0.2013
Date of Report Facility where issued

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Compiete: Attach a Copy of any pertinent document (such as a Disziptinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves disciplirie, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, Only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary

administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

Summary of Grievance (Provide information en a description of what happened when and where it happened, and the name or identifying information
for each person involved): 2 4 Gof 4}-—£ fh f

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iD# Date

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Counselor’s Response (if applicable)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date
Received: a [-] Send directly to Grievance Officer 1] Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, |. 62794-9277
Response:
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Print Counselor's Name Counselor's Signature Date of Response
EMERGENCY REVIEW
Date ; /
Received: = / / is this determined to be of an emergency nature? {J Yes: expedite emergency grievance
(J No; an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.
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Chiet Administrative Officer's Signature Date

 

 

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Siar *L ane #2) OFFENDER'S GRIEVANCE (Continued) Wwe % S.,

 

 

 

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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 35 of 37 PagelD #:57
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LEGAL COPIES ONLY! Personal property slips WILL NOT be copied.

Remember to send a signed money voucher for copies.

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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 36 of 37 PagelD #:58

 

 

 

Eddie Myles (d-70 68 )
Plaintiff/Petiti ~ a

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Subscribed and sworn to before me this ab day of March 20 | 5

 

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Case: 1:15-cv-02855 Document #: 1-1 Filed: 03/30/15 Page 37 of 37 PagelD #:59

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ILLINOIS DEPARTMENT OF CORRECTIONS

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Ht : , Administrative Review.Board ©
f.
4 Return of Grievance or Correspondence - oo
Offender: mL ULES Eddie At | Ulg Sf
, First Name . MI lD#

 

Last Name

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yours Facility Grievance: a 3. 4. 449 Dated: a2 ey sie Dated: “Wh
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Date

The attached grievance or correspondence i is being returned for the following reasons:

 

Additional information: required:
(1) Provide a copy of your written Offender's Grievance, boc 0046, including the counselor's response, if applicable.

(4 Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the. Grievance Officer's and Chief Administrative |
Officer's response, to appeal. © :

OO Provide dates ‘of disciplinary reports and facility where incidents occurred.

{J

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board
Office of Inmate Issues
_ 1301. Concordia Court
- Springfield, IL - 62794-9277 —

 

 

Misdirected:

Contact your correctional counselor regarding this issue.

Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the ©
_ Offender grievance ‘process outlined i in Department Rule 504 for further consideration.

Contact the Record. Office with your request or to provide additional information.

Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

oo00 ‘OO

Address concems to: Illinois Prisoner Review Board
319 E. Madison St., Suite A
Springfield, IL 62706 ©

 

 

No further redress:
(0 Award of Supplemental Sentence Credits are. discretionary administrative decisions; therefore, this issue will’ not be addressed

ZN. ;
* L) Not submitted i in the timeframe outlined in Department Rule 504; therefore, this issue wil not be addressed farther.

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This office previously addressed this issue on

Date

 

0 No justification provided for additional consideration.

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Completed by:

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